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            IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                   NORTHERN DISTRICT OF MISSISSIPPI


IN RE CLANT M SEAY, JR.                                        NO. 18-14563-JDW
                                                                      CHAPTER 7


                       MOTION TO EXTEND TIME
        FOR FILING COMPLAINT TO DETERMINE DISCHARGEABILITY


      COME NOW Bucky Rowland, in his official capacity as Sheriff

of Maury County, Tennessee, David Sisk, Callaway Dial and Jerry

W. Harris (collectively, the “Movants”), parties in interest in

this case, and, by and through their undersigned counsel and

pursuant    to   Rule     4007   of   the   Federal    Rules    of    Bankruptcy

Procedure and related rules, move the Court to extend the time

for filing a complaint under 11 U.S.C. § 523, and in support

show as follows:

      (1)           The   Debtor,     Clant     M.    Seay,     Jr.      (“Seay”),

commenced this Chapter 7 case on November 16, 2018. The last day

to file complaints to determine dischargeability is currently

March 12, 2019.

      (2)           Seay is the plaintiff and the Movants are the

defendants in a certain civil action styled Clant M. Seay v.

Bucky Rowland, in his official capacity as Sheriff of Maury

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County,     Tennessee,         David    Sisk,         Callaway      Dial     and       Jerry    W.

Harris,     case    number        1:16-cv-68         on   the     docket     of    the    United

States District Court for the Middle District of Tennessee (the

“Lawsuit”), which Seay commenced on August 23, 2016. The Lawsuit

is premised on purported claims of Seay against the Movants for

alleged violations of 42 U.S.C. § 1983.

      (3)           The     Lawsuit        was       decided     adversely        to    Seay    on

October 19, 2018 when each of the Movants was granted summary

judgment    on     all    of      Seay’s    claims.         In   connection        with    their

motions for summary judgment, Movants David Sisk and Callaway

Dial asked the           district      court to award them attorney’s                          fees

against     Seay.    In    granting        summary        judgment      in   favor       of    the

Movants, the district court denied Sisk’s request for attorney’s

fees but granted Dial’s request with the amount to be determined

on   further       proceedings.         Dial         then    filed      a    motion       asking

$60,022.50 as the amount of his award against Seay.

      (4)           On     November        16,       2018,       four   events         occurred.

First, Movant Jerry W. Harris filed a motion in the Lawsuit

seeking an award of his attorney’s fees against Seay. Second,

Seay filed a notice of appeal to the Sixth Circuit (case number

18-6214 in the United States Court of Appeals for the Sixth

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Circuit, the “Appeal”). Third, costs in the Lawsuit in the total

amount of $17,089.00 were taxed against Seay in favor of Sisk,

Dial and Harris. Fourth,               Seay       filed this    no-asset   Chapter 7

bankruptcy.

      (5)           In view of the Appeal, the district court denied

Dial’s motion to determine the amount of attorney’s fees and

Harris’ motion to award attorney’s fees, but without prejudice

to refile those motions after resolution of the Appeal.

      (6)           Seay notified the Sixth Circuit of the filing of

this bankruptcy, and the Sixth Circuit entered an order holding

the Appeal in abeyance pending further motion of the parties or

order of the court.

      (7)           The attorney’s fees awarded to Dial, and those

sought by Sisk and Harris, are based upon 42 U.S.C. § 1988 which

authorizes    the     award       of    attorney’s       fees    to   a    prevailing

defendant     where        the     plaintiff’s         lawsuit     was     vexatious,

frivolous, or brought to harass or embarrass the defendant. Fees

awarded for such reasons may be nondischargeable under 11 U.S.C.

§ 523.

      (8)           Each    of    the   Movants       has   a   pre-petition   claim

against Seay for attorney’s fees under 42 U.S.C. § 1988. Dial’s

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entitlement to pre-petition fees under that statute has been

awarded, but with the amount to be determined after resolution

of the Appeal. Harris’ entitlement to pre-petition fees has been

postponed by the district court until after resolution of the

Appeal. Movant Bucky Rowland had not yet filed his motion for

attorney’s fees under 42 U.S.C. § 1988 when Seay took the Appeal

and filed this bankruptcy.1 Similarly, the automatic stay in this

case has prevented Sisk from asserting a cross-appeal from the

district court’s denial of his motion for attorney’s fees under

42 U.S.C. § 1988.2

      (9)           By commencing this no-asset Chapter 7 bankruptcy

on the same day that he appealed the adverse outcome of the

Lawsuit, Seay has attempted to place himself in the position of

receiving a discharge of his pre-petition obligations to the

Movants for fees and costs while leaving him free to continue

pursuit     of   the   Appeal     after   this   bankruptcy     is   closed.   The


1
       Under Local Rule 54.01(b)(1) of the Local Rules of the United States
District Court for the Middle District of Tennessee, motions for attorney’s
fees and related nontaxable expenses must be filed within thirty days from
entry of final judgment. Here, thirty days after entry of final judgment
would have been November 19, 2018, three days after this bankruptcy was
filed.
2
      Sisk and Dial also sought attorney’s fees under 28 U.S.C. § 1927,
authorizing an award of fees against a party who unreasonably and vexatiously
multiplies   proceedings.  Awards   under  that  statute   can  likewise   be
nondischargeable under 11 U.S.C. 523.
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Movants    are    entitled       to    this    Court’s    determination          of    the

dischargeability of Seay’s pre-petition obligations for attorney

fees and costs, yet the pendency of the stayed Appeal leaves

adjudication      of     those      obligations       incomplete.        The     primary

statute which authorizes fees in cases such as the Lawsuit is 42

U.S.C.    §     1988,     which        vests   the    authority      to        determine

entitlement of such fees in the district court which tried the

Lawsuit. The role of this Court would be to determine, once the

Sixth Circuit has disposed of the Appeal and the district court

has resolved all issues relating to the Movants’ entitlement to

fees   and    costs      after     remand,     whether     such    fees    should        be

excepted from discharge.3

       (10)         It    is     therefore     appropriate        that    this        Court

extend    the    time     for    the    Movants      to   file    their    respective

complaints for determination of the dischargeability of their

pre-petition claims for attorney’s fees under 42 U.S.C. § 1988

and 28 U.S.C § 1927 and for costs taxed until at least 30 days

after the district court’s final ruling on the Movants’ motions


3
      Local Rule 54.01(b)(2) of the Local Rules of the United States District
Court for the Middle District of Tennessee permits motions for attorney’s
fees within thirty days after issuance of the mandate by the Sixth Circuit.
Thus, the Movants may have additional claims against Seay for post-petition
attorney’s fees incurred in the Appeal, but those obligations would not be
affected by a discharge in this case.
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for such fees and costs following disposition of the Appeal4 and,

if     necessary,      to    reopen     this     case      for    such     determination

notwithstanding any discharge previously granted (in which event

the time should be extended to 30 days after                              entry of this

Court’s order reopening this case).

       (11)           Alternatively, if this Court determines that it

has jurisdiction over the question of the Movants’ entitlement

to such fees and costs (and over the question of the amounts

thereof) notwithstanding the pendency of the Appeal, then it is

appropriate that this Court extend the time for the Movants to

file     their    respective      complaints         for     determination            of   the

dischargeability        of     their    pre-petition         claims      for     attorney’s

fees until at least 30 days after this Court’s final ruling on

such questions.

       (12)           Good cause exists for the relief requested.

       WHEREFORE,      Bucky     Rowland,       in   his     official          capacity    as

Sheriff of Maury County, Tennessee, David Sisk, Callaway Dial

and    Jerry     W.   Harris    request       this   Court       to    grant    the    relief

described        in   Paragraph        (10)     above      or,        alternatively,       in


4
      By separate motion filed contemporaneously with this motion, the
Movants are seeking relief from the automatic stay to permit the Appeal to go
forward and, upon conclusion of the Appeal, to permit the district court to
make final rulings on the Movants’ entitlement to fees and costs.
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Paragraph (11) above, and to grant such other relief as may be

appropriate.


                                     Respectfully submitted,

                                     BUCKY ROWLAND, in his official
                                     capacity as Sheriff of Maury
                                     County, Tennessee
                                     DAVID SISK

                                     CALLAWAY DIAL and

                                     JERRY W. HARRIS

                                     By and through their attorney:

                                     /s/ Les Alvis
                                     LES ALVIS
                                     Bar Number 1548
                                     lalvis@rccalaw.com

OF COUNSEL:

RILEY, CALDWELL, CORK & ALVIS, P.A.
207 Court Street
Post Office Box 1836
Tupelo, Mississippi 38802-1836
(662) 842-8945



                         CERTIFICATE OF SERVICE


I hereby certify that on the date set forth below I
electronically filed the foregoing MOTION TO EXTEND TIME FOR
FILING COMPLAINT TO DETERMINE DISCHARGEABILITY with the Clerk of
the Court using the ECF system which sent notification of such
filing to the following:

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Robert Gambrell
rg@ms-bankruptcy.com

Stephen Smith
trustee1@smithcpafirm.com

U. S. Trustee
USTPRegion05.AB.ECF@usdoj.gov

I hereby further certify that on the date set forth below I
mailed a copy of the foregoing MOTION TO EXTEND TIME FOR FILING
COMPLAINT TO DETERMINE DISCHARGEABILITY by first class mail,
postage prepaid, to:

Clant M. Seay, Jr.
1501 Jackson Ave. West
Ste. 113-115
Oxford, MS 38655

DATED:     March 8, 2019

                                     /s/ Les Alvis
                                     LES ALVIS
                                     Bar Number 1548
                                     lalvis@rccalaw.com




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